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AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release                                       Page 1 of       3       Pages



                                      UNITED STATES DISTRICT COURT                                                        FILED
                                                                          for the                                         Apr 19, 2021
                                                                                                                    CLERK, U.S. DISTRICT COURT


                                                 Eastern District of California
                                                                                                                  EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                                                 )                   Case No. 1:21-mj-00030-SKO
                              v.                                          )
                                                                          )
JORGE PEREZ,                                                              )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:             UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF CALIFORNIA
                                                                                              Place
      2500 TULARE STREET, FRESNO CALIFORNIA

      on                                         April 30, 2021, 2:00 PM before Magistrate Duty Judge
                                                                              Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.
 AO 199B (Rev. 09/08- Case   1:21-mj-00030-SKO
                      EDCA [Fresno])                            Document
                                     Additional Conditions of Release (General) 20    Filed 04/19/21 Page 2 of 3 Page 2 of                      3 Pages

 PEREZ, Jorge
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                                              ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

      (6)       The defendant is placed in the custody of:

                   Name of person or organization

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
         defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
         release or disappears.

                   SIGNED: ________________________________
                                     CUSTODIAN
      (7)       The defendant must:
                (a)   report to and comply with the rules and regulations of the Pretrial Services Agency;
                (b)   report telephonically to the Pretrial Services Agency on the first working day following your release from
                       custody;
                (c)   reside at a location approved by the PSO and not change your residence without prior approval of PSO; travel
                       restricted to Eastern District of California, unless otherwise approved in advance by PSO;
                (d)   report any contact with law enforcement to your PSO within 24 hours;
                (e)   cooperate in the collection of a DNA sample;
                (f)   not associate or have any contact with co-defendants unless in the presence of counsel or otherwise approved in
                       advance by the PSO;
                (g)   maintain or actively seek employment, and provide proof thereof to the PSO, upon request;
                (h)   not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                       dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                       currently under your control;
                (i)   submit to drug and/or alcohol testing as approved by the Pretrial Services Officer. You must pay all or part of the
                       costs of the testing services based upon your ability to pay, as determined by the Pretrial Services Officer;
                (j)   refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance without a
                       prescription by a licensed medical practitioner; and you must notify Pretrial Services immediately of any
                       prescribed medication(s). However, medical marijuana, prescribed and/or recommended, may not be used; and,
                (k)   not apply for or obtain a passport or any other traveling documents during the pendency of this case.
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✔

    Apr 19, 2021

                                    Stanley A. Boone United States Magistrate Judge
